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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


 SZY Holdings, LLC, et al.
   Plaintiffs,

 v.                                                 Civil Action No. 1:20-cv-01475 (LO/JFA)

 IPF Sourcing LLC, et al.,
    Defendants.



                      NOTICE OF WAIVER OF ORAL ARGUMENT

       Please take notice that, pursuant to Local Rule of Civil Procedure 7(E), Olaoluwaposi O.

Oshinowo, Spencer C. Brooks, and Wiley Rein LLP (together, “Wiley Rein”), respectfully waive

oral argument in connection with their Motion to Withdraw as Counsel for Defendants Rico Garcia

and Hamsa Holdings, LLC (together, the “Defendants”) (the “Motion to Withdraw”) [Dkt. Nos.

64 & 65]. Wiley Rein has contacted counsel for Plaintiffs and Defendant IPF Sourcing LLC

regarding agreement to submit the Motion to Withdraw without a hearing, but counsel indicate

that they have not yet been able to discuss with their clients or have not heard from their clients

regarding their consent to proceed without a hearing. In light of the fact that Defendants

discharged Wiley Rein from representation in this matter and withdrawal therefore is mandatory,

Wiley Rein respectfully requests that the Court grant the Motion to Withdraw without the need for

a hearing.




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Dated: May 20, 2022                Respectfully submitted,

                                   By: /s/ Olaoluwaposi O. Oshinowo

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                                   Holdings, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of May, 2022, a true and exact copy of the foregoing

was electronically filed with the Clerk of the District Court using the CM/ECF system and served

electronically upon all counsel of record:


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Counsel for Defendant IPF Sourcing LLC

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                                             Counsel for Defendants Rico Garcia and Hamsa
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